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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


   Civil Action No. 1:16-cv-02981

   TECH INSTRUMENTATION, INC., a Colorado corporation, individually and on behalf of all
   others similarly situated,

                        Plaintiff,

   v.

   EURTON ELECTRIC COMPANY, INC., a California corporation

                        Defendant.


                  [PROPOSED] ORDER GRANTING MOTION FOR LEAVE
                  TO DISSEMINATE SECOND ROUND OF CLASS NOTICE


          The Court, having considered Plaintiff’s Motion for Leave to Disseminate Second Round

   Class Notice, and being duly advised in the premises, hereby ORDERS as follows:

          1. Plaintiff’s Motion is GRANTED;

          2. The deadline to disseminate the second round of notice shall be forty-five (45) days

             from the date of this Order.

             IT IS SO ORDERED


                                       Hon. Marcia S. Krieger




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